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                       THE UNITED STATES DISTRICT COURT                                                       Style Definition: Heading 2: Font: 12 pt
                 FOR THE DISTRICT OF COLORADOCITE DISTRICT
_____________________________________________________________________________

 ERIC COOMER,

                        Plaintiff,

 v.
                                                          Case No. 1:22-cv-01129-NYW-SBP
 MICHAEL J. LINDELL, FRANKSPEECH LLC,
 AND MY PILLOW, INC.,

                        Defendants.

_____________________________________________________________________________

               DEFENDANTS’ BRIEFRESPONSE IN OPPOSITION TO
                   PLAINTIFF’S OMNIBUS MOTION IN LIMINE
_____________________________________________________________________________


                                     PRELIMINARY STATEMENT

       Plaintiff Eric Coomer has alleged that he suffered millions of dollars in reputational damage based

on alleged defamatory statements and “intentional infliction of emotional distress” caused by, what he

claims, were Mr. Lindel’s alleged “extreme and outrageous” false statements. MrDr. Coomer also alleges

that he suffered mental anguish, reputational injuries, and emotional damages. Despite these claims and

purported injuries, MrDr. Coomer now asks the Court to prohibit Defendants from introducing any

character evidence that is essential to rebutting MrDr. Coomer's claims, injuries, and damages. The Federal

Rules do not provide MrDr. Coomer the shield of protection he seeks—specifically because his entire case

and damages he alleges rely on this relevant character evidence. For the following reasons, the Court

should deny MrDr. Coomer's omnibus motion in limine in its entirety.


                                         LEGAL STANDARD

       The admission or exclusion of evidence lies within the sound discretion of the trial court. Robinson




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v. Mo. Pac. R.R. Co., 16 F.3d 1083, 1086 (10th Cir. 1994); see also United States v. Golden, 671 F.2d 369,

371 (10th Cir. 1982) (emphasizing trial court's discretion in evidentiary matters). Relevant evidence is that

which “has any tendency to make a fact more or less probable than it would be without the evidence; and

the fact is of consequence in determining the action.” Fed. R. Evid. 401. “The standard for relevancy is

particularly loose under rule 401, because ‘[a]ny more stringent requirement is unworkable and

unrealistic.’” Rivero v. Bd. of Regents of Univ. of New Mexico, No. CIV 16-0318 JB\SCY, 2019 WL

1085179, at *78 (D.N.M. Mar. 7, 2019), aff'd, 950 F.3d 754 (10th Cir. 2020) (internal citations omitted).

       “Relevant evidence is inherently prejudicial; but it is only unfair prejudice, substantially

outweighing probative value, which permits exclusion of relevant matter under Rule 403.” United States

v. Naranjo, 710 F.2d 1465, 1469 (10th Cir. 1983) (emphasis in original) (quotations omitted). The Tenth

Circuit has reminded district courts that they should be “mindful” that “exclusion of evidence under Rule

403 that is otherwise admissible under the other rules is an extraordinary remedy and should be used

sparingly.” United States v. Smalls, 605 F.3d 765, 787 (10th Cir. 2010) (internal quotations and citations

omitted).

       The trial court's discretion to balance possible unfair prejudice against probative value is broad.

United States v. Begay, 497 F. Supp. 3d 1025, 1052 (D.N.M. 2020) (citations omitted). While Federal             Formatted: Font color: Auto

Rule of Evidence 404(a) generally prohibits character evidence to prove conduct in conformity therewith,

Rule 405(b) expressly permits evidence of specific instances of conduct when character is an essential

element of a claim or defense. The Tenth Circuit consistently holds that character evidence is particularly

relevant in defamation cases where reputation is directly at issue. See World Wide Ass’n of Specialty

Programs v. Pure, Inc., 450 F.3d 1132, 1139 (2006) (recognizing that "reputation and character are

inextricably intertwined" in defamation cases). Additionally, under Rule 608(b), specific instances of

conduct may be inquired into on cross-examination if probative of truthfulness. New Mexico ex rel.



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Balderas v. Real Estate Law Center, P.C., 409 F.Supp.3d 1122, 1128 (2019) (allowing cross-examination

about specific instances of dishonesty).

       The Court must balance the probative value of evidence against the danger of unfair prejudice

under Rule 403. However, evidence is not unfairly prejudicial merely because it damages a party's case –

the evidence must have “an undue tendency to suggest decision on an improper basis.” Fed. R. Evid. 403

advisory committee notes. See also Mata v. City of Farmington, 798 F.Supp.2d 1215, 1227 (D.N.M. 2011)

(“The prejudice must be unfair in the sense that it would affect the jury's ability to weigh the evidence

rationally.”) Rule 403 permits inclusion of evidence when the probative value is so crucial to a necessary

issue that MrDr. Coomer cannot show any prejudice “substantially outweighs” the probative value. See

United States v. Cerno, 529 F.3d 926, 935 (10th Cir. 2008Id.; see also Fed. R. Evid. 405(b).

                                              ARGUMENT

       I. Evidence of MrDr. Coomer's Credibility and Honesty is Relevant and Admissible.

       MrDr. Coomer seeks to exclude body camera footage showing his interactions with law

enforcement during a hit-and-run investigation in September 2021, in which MrDr. Coomer is shown lying

to police officers about his involvement. This evidence is directly relevant to MrDr. Coomer’s credibility

and character for truthfulness, which are central issues in this defamation case.

       The Tenth Circuit has long recognized that character evidence, including specific instances of

conduct, can be admitted when character is an essential element of the case. See World Wide Ass'n,, at

1139. In defamation actions particularly, courts routinely admit evidence probative of truthfulness given

that a plaintiff's reputation and credibility are directly at issue. See Perrin v. Anderson, 784 F.2d 1040,

1045 (10th Cir. 1986) (noting character evidence is admissible when it constitutes “an essential element

of a charge, claim, or defense”).




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        The District of Colorado has specifically addressed the admissibility of evidence showing

untruthful conduct in similar contexts. In Ginter v. Northwestern Mut. Life Ins. Co., 576 F. Supp. 627, 630

(E. D. Colo.Kentucky, Covington 1984), the court held that “where the focal issue in a case is the plaintiff's

character... evidence of specific instances of conduct becomes admissible.” Similarly, in Boeser v. Sharp

(D. Colo. 2007), the court permitted evidence of specific instances of dishonesty when relevant to

evaluating credibility. The body camera footage shows MrDr. Coomer initially denying involvement in

the accident before later admitting to it - conduct that directly bears on his truthfulness. Courts in the Tenth

Circuit have admitted evidence of uncharged acts where the evidence is relevant to showing credibility

and honesty. See e.g. United States v. Begay, 497 F. Supp. 3d 1025, 1061 (D.N.M. 2020) (denying

exclusion of prior uncharged acts under Rule 403 because the party seeking inclusion intended to offer the

evidence for a proper purposeadmissible and relevant in criminal matter to show proclivity to essential

issuescommit charged acts).

        While Federal Rule of Evidence 608(b) generally prohibits extrinsic evidence to prove specific

instances of conduct, the Court may permit questioning about such instances on cross-examination if

probative of truthfulness. See id.; Fed. R. Evid. 608(b). The circumstances of the accident and MrDr.

Coomer's conduct are proper subjects for cross-examination under Rule 608(b). Further, the body cam

footage should be admissible on cross examination because it concerns MrDr. Coomer’s mental state and

pre-existing conditions effectingaffecting his psychological well-being, both of which the plaintiff here

has put at issue. See Cerca v. Thomas, 30 F. App'x 931, 933 (10th Cir. 2002) (admitting evidence

appropriate where there are multiple levels of relevance for competency, truthfulness, and pre-existing

conditions to rebut a party’s exclusion request).




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       II. Evidence of MrDr. Coomer's Statements About President Trump and Law Enforcement
           is Relevant to Core Issues.

       MrDr. Coomer seeks to exclude evidence of his social media posts and statements expressing

animosity toward President Trump, law enforcement, and related political issues. This evidence is directly

relevant to:

      Rebutting MrDr. Coomer’s claims that Defendants acted with actual malice;

      Providing context for Defendants’ statements and demonstrating their reasonableness given
       publicly available information about MrDr. Coomer;

      Challenging MrDr. Coomer’s allegations of severe emotional distress and reputational harm.


   Under Federal Rule 405(b), specific instances of conduct are admissible when character is an essential

element of a claim or defense. Here, MrDr. Coomer has put his character and reputation directly at issue

through his defamation and emotional distress claims alleging that the Defendants had no basis to make

any statement regarding Coomer’s conduct or hatred involving President Trump or his supporters in the

2020 election—including law enforcement. The Defendants’Defendants are permitted to introduce

evidence of Coomer’s disdain for President Trump and his law enforcement supporters specifically to

show the reasonableness of Mr. Lindell’s alleged statements on public concern and to rebut Coomer’s

“actual malice” evidence. Spacecon Specialty Contractors, LLC v. Bensinger, 713 F.3d 1028, 1041–42

(10th Cir. 2013); citing St. Amant v. Thompson, 390 U.S. 727, 731, 88 S.Ct. 1323, 20 L.Ed.2d 262 (1968);

Garrison v. Louisiana, 379 U.S. 64, 74, 85 S.Ct. 209, 13 L.Ed.2d 125 (1964).

   Coomer’s public statements on these topics are relevant to assessing both the truth of the alleged

defamatory statements and the extent of damages claimed. Further, this evidence is directly relevant to the

Defendants’ state of mind regarding reasonableness and actual malice in any alleged statements at issue

since every single statement relates to MrDr. Coomer’s involvement with President Trump’s purported

2020 election loss.


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       III. Evidence of Prior Drug/Alcohol Use and Mental Health History is Relevant to Rebut
            Damages Claims.

       MrDr. Coomer seeks to exclude evidence of his past struggles with addiction and mental health

treatment. However, this evidence is directly relevant to rebut his claims of emotional distress damages

allegedly caused by Defendants' conduct. Courts consistently recognize the admissibility of pre-existing

mental health conditions in cases involving emotional distress claims. See Csuha v. Best Friends Animal

Soc'y, 524 F. Supp. 3d 1196, 1200 (D. Utah 2021) (finding prior emotional state and alcohol abuse relevant     Formatted: Font color: Auto

where plaintiff had placed mental state at issue with emotional distress damages).

       When a plaintiff claims severe emotional distress damages, evidence of pre-existing mental health

conditions and treatment is crucial for the jury to fairly evaluate causation and damages. The Tenth Circuit

has repeatedly held that defendants must be permitted to present evidence of alternative causes for claimed

emotional injuries. See Perkins v. Fed. Fruit & Produce Co., 945 F.3d 1242, 1251 (10th Cir. 2019)

(admitting evidence of prior emotional difficulties to challenge damages claims); Jones v. Denver Post

Corp., 203 F.3d 748, 756 (10th Cir. 2000) (evidence of prior mental health treatment relevant to emotional

distress damages).

       District courts within the Tenth Circuit have specifically addressed the admissibility of addiction

and mental health evidence when relevant to damages claims. In Mata v. City of Farmington, 798

F.Supp.2d 1215, 1227 (D.N.M. 2011), the court allowed evidence of prior substance abuse issues as

relevant to emotional distress damages. The District of Colorado in Sanchez v. Duffy, 416 F.Supp.3d 1131

(D. Colo. 2018) permitted evidence of prior mental health treatment to challenge causation in emotional

distress claims.

       In Boeser v. Sharp, the court recognized that when a plaintiff places mental state at issue evidence

of pre-existing conditions becomes highly relevant to assessing damages. Boeser v. Sharp, No.

CIVA03CV00031WDMMEH, 2007 WL 1430100, at *7 (D. Colo. May 14, 2007); see also Solis-Marrufo


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v. Bd. of Comm'rs for Cnty. of Bernalillo, No. CIV 11-0107 JB/KBM, 2013 WL 1658203, at *20 (D.N.M.

Mar. 28, 2013) (permitting Defendants to contradict a plaintiff’s asserted damages by inquiring into

previous drug use as admissible where plaintiff’s mental and emotional state at issue under Rules 403 and

405).

        The Tenth Circuit notes that Rule 608 permits exclusion only if the Defendants’ introduction is

done for the “sole purpose” of attacking a witness’s character for truthfulness. Cerca v. Thomas, 30 F.

App'x 931, 933 (10th Cir. 2002); Fed. R. Evid. 608 advisory committee’s note to 2003 amendment. That

is not why Defendants seek introduction of this evidence. Notably, even Defendant Lindell acknowledged

in his deposition testimony that he, himself, is a recovered addict and My Pillow regularly hires those with

past struggles - demonstrating that this evidence is not being offered to unfairly prejudice MrDr. Coomer’s

truthfulness, but rather to properly contextualize and contradict his damages claims as far as psychological

injuries. The Court in Mata v. City of Farmington, 798 F. Supp. 2d 1215 (2011) specifically allowed

inquiry into a plaintiff's prior incidents because they were relevant to emotional distress damages claims.

The same analysis applies here: Mr. Coomer's pre-existing conditions and treatment history are essential

to evaluating his claimed emotional injuries.

        IV. The 118-Page Background Document is Relevant to Multiple Defense Issues and is not
           being offered for its truth.

        The 118-page document titled Eric Coomer: Pawn, Plant or Perp? that MrDr. Coomer seeks to

exclude is directly relevant to multiple defenses and should be admitted. While MrDr. Coomer

characterizes it as inadmissible hearsay, the document serves several non-hearsay purposes critical to the

Defendants’ defense.

   A. The Document Is Not Hearsay When Offered to Show Notice and State of Mind

        This document is not hearsay because it is not being offered for the truth of its contents. See Fed.

R. Evid. 801(c)(2). The document is admissible solely to show the Defendants’ state of mind and


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knowledge of information about MrDr. Coomer prior to any alleged statements at issue. United StatesId.;

see St. Amant v. Cerno, 529 F.3d at 935 (trial courts must giveThompson, 390 U.S. 727, 732 (1968) (fact

finder should assess all evidence “its maximum reasonable probative force and its minimum reasonable

prejudicial value”). to determine a defendant’s “good faith”). Rather, the document is offered to               Formatted: Font: Italic

demonstrate:

      The justification and reasonableness of Defendants' statements given publicly available
       information about MrDr. Coomer;

      The absence of actual malice;

      That Defendants' conduct was not “extreme and outrageous” given the context.

       Each of the above justifications shows the probative value of the evidence in the document MrDr.

Coomer seeks to exclude. Further, even if the document contains information the Court may deem

inadmissible, those facets can be redacted while preserving the document’s relevant and admissible

aspects. Wholesale exclusion is not warranted. See United States v. Jones, 530 F.3d 1292, 1302 (10th Cir.

2008) (recognizing effectiveness of limiting instructions in managing potential prejudice). , and the Tenth

Circuit has long held that whole “exclusion of relevant evidence under Rule 403 is an extraordinary

remedy to be used sparingly.” Wheeler v. John Deere Co., 862 F.2d 1404, 1410 (10th Cir.1988) (citations

omitted). To the extent specific portions contain inadmissible content, those can be redacted while

preserving the document's relevant and admissible aspects.

   B. Introduction of Character Evidence by Plaintiff's Counsel

       It bears noting that Plaintiff's counsel has repeatedly emphasized Plaintiff's academic credentials

by prefacing his name with “Dr.” throughout court filings and proceedings. This strategic use of Plaintiff's

Ph.D. title constitutes an implicit attempt to bolster his credibility and professional reputation - the very

character traits at issue in this defamation case. Courts have long recognized that when a party introduces

evidence of good character, the opposing party is entitled to rebut with contrary character evidence. See


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Michelson v. United States, 335 U.S. 469, 479 (1948) (discussing the “door opening” principle for

character evidence); United States v. Morales, 108 F.3d 1213, 1222 (10th Cir. 1997) (applying curative

admissibility doctrine where party opens the door to otherwise inadmissible evidence).).

       Here, having opened the door to evidence of Plaintiff's credentials and professional standing,

Plaintiff cannot now seek to exclude evidence that provides a complete picture of his character and

reputation, certainly where his character and reputation was well known and published many times prior

to any alleged statements by the Defendants at issue here. See also Fed. R. Evid. 405(b).

       V. Evidence About Religious Views and Social Media Posts is Relevant to Reputation.

   A. Admissibility of Social Media Evidence Admissibility.

       Courts regularly admit social media evidence in defamation cases when relevant to reputation and

damages. See Roberts v. McAfee, Inc., 660 F.3d 1156, 1167-68 (9th Cir. 2011) (holding public social media

posts relevant to reputational damages analysis); see also Lohrenz v. Donnelly, 350 F.3d 1272, 1282-83

(D.C. Cir. 2003) (admitting evidence of plaintiff's social media posts to assess pre-existing reputation).

       The Tenth Circuit has specifically addressed authentication and admissibility of social media

evidence in United States v. Hassan, holding that social media posts are admissible when adequately

authenticated and relevant to material issues.See Hassan, 742 F.3d 104, 133 (10th Cir. 2014). Here, Mr.

Coomer does not dispute the authenticity of his social media posts, which can be verified through

Facebook’s business records.

       Coomer’s role in essentially programming equipment for United States elections gives the general         Formatted: Space Before: 0 pt

public heightened interest in his statements about political or public issues—specifically regarding issues

of importance during the 2020 election. Anaya v. CBS Broad. Inc., 626 F. Supp. 2d 1158, 1198 (D.N.M.

2009), citing Rosenblatt v. Baer, 383 U.S. at 85 (public has generalized and particularly heightened interest

in statements and qualifications of persons responsible for public functions, including the plaintiff’s



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honesty in relation to their government purpose and position). Coomer’s position with Dominion’s election

and voting technology invites and permits public scrutiny of the type that Coomer alleges against the

Defendants here—all of, which go to Defendants’ defenses of actual malice in any statements or injuries

at issue here. Notably, this includes social media statements showing mental impressions of Commer about

political issues surrounding the time that Coomer was involved in election management for a company

(Dominion) that oversees elections in multiple U.S. states. This is precisely the type of evidence that would

allow the jury to determine the defendants’ reasonableness, actual malice, or “good faith.” See St. Amant

v. Thompson, at 732; Sanchez v. Duffy, 416 F.Supp.3d 1131, 1142 (D. Colo. 2018) (allowing relevant

Facebook posts to show plaintiff's mental state and prior conduct).

       Courts within the District of Colorado have consistently admitted social media evidence in similar

contexts. See Sanchez v. Duffy, 416 F.Supp.3d 1131, 1142 (D. Colo. 2018) (allowing Facebook posts as

relevant to plaintiff's mental state and reputation); Estate of Martinelli v. City & Cty. of Denver, No. 19-

cv-02737, 2021 WL 4133804, at *6-7 (D. Colo. Sept. 10, 2021) (admitting social media evidence as

relevant to damages claims); Peterson v. Nelnet Diversified Sols., LLC, 400 F.Supp.3d 1122, 1131 (D.

Colo. 2019) (permitting discovery and use of social media posts in emotional distress case).

   B. Religious Beliefs Evidence Under Rule 610.

       While Rule 610 prohibits evidence of religious beliefs “to attack or support the witness’s

credibility,” it does not bar such evidence when offered for other relevant purposes. See United States v.

Hoffman, 806 F.3d 1288, 1295 (10th Cir. 2015) (distinguishing between prohibited credibility attacks and

permissible non-credibility purposes).

       The advisory committee notes to Rule 610 clarify that the rule “does not bar evidence of religious       Formatted: Space Before: 0 pt

beliefs when otherwise relevant.” Fed. R. Evid. 601, Advisory Notes. Here, MrDr. Coomer's statements

about religion are not being offered to attack credibility but rather to show (1) MrDr. Coomer’s pre-



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existing public persona and reputation, (2) context for Defendants' statements, and (3) alternative causes

of MrDr. Coomer’s alleged reputational harm.

       Courts have regularly admitted evidence touching on religious beliefs when relevant to factual

issues that do not involve credibility. See e.g. Gulino v. Board of Education, 236 F.Supp.2d 314, 322

(S.D.N.Y. 2002) (admitting evidence of religious statements when relevant to damages); Bains LLC v.

Arco Products Co., 405 F.3d 764, 772 (9th Cir. 2005) (allowing evidence of religious beliefs when relevant

to substantive issues beyond credibility); United States v. Kalaydjian, 784 F.2d 53, 56 (2d Cir. 1986)

(permitting evidence regarding religion when offered for purposes other than credibility attack).

   C. Non-Hearsay Treatment of Background Documents

       The 118-page background document should be admitted as it is not being offered for the truth of

the matters asserted but rather for multiple non-hearsay purposes recognized by courts:

      To show notice and state of mind. See United States v. Cesareo-Ayala, 576 F.3d 1120, 1127-28
       (10th Cir. 2009Fed. R. Evid. 803(3) (admitting documents to show effect on reader's state of mind);

      To demonstrate the context and basis for Defendants' statements. See New York Times Co. v.
       Sullivan, 376 U.S. 254, 286 (1964) (considering information that was available to defendants prior
       to alleged defamation in assessing actual malice);

      To establish the reasonableness of Defendants' conduct. See Brown v. Petrolite Corp., 965 F.2d 38,
       46 (5th Cir. 1992) (admitting background information to assess reasonableness of defamation
       defendant's actions).Defendants’ conduct or statements. See id.

       The Tenth Circuit has specifically admitted background documents in defamation cases to show

justification or basis for any alleged statements at issue. See e.g. World Wide Ass’n of Specialty Programs

v. Pure, Inc., 450 F.3d 1132, 1144 (10th Cir. 2006) (admitting background materials to show basis for

statements); Schwartz v. American College of Emergency Physicians, 215 F.3d 1140, 1146 (10th Cir. 2000)

(permitting evidence of background information available to defendants).

   D. Rule 403 Balancing in Defamation Cases




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       Courts in the Tenth Circuit lend careful consideration to Rule 403 balancing in defamation or

intentional infliction cases because, unlike other legal claims, evidence that is central to reputation and

reputational or emotional damages is far more probative to these claims regardless of purported prejudice

to a plaintiff. See United States v. Caraway, 534 F.3d 1290 (10th Cir. 2008). To aid consideration of such

evidence in defamation cases, the Tenth Circuit has established three key principles:See id. (recognizing

broad discretion of trial courts in admitting evidence of accounts and reputation in defamation cases as an

element at issue); Fed. R. Evid. 405(b). To aid consideration of such evidence in defamation cases, the

Tenth Circuit relies on principles in the Federal Rules to balancing probative value and limitation on unfair

prejudice, while incorporating the principle that character evidence can be admissible where it is an

essential element of a claim, like defamation or intentional infliction of emotional distress. Id.; see also

Fed. R. Evid. 403. Here, the Plaintiff has made his character and reputation an essential element of his

defamation claims in that he did not act out of political bias regarding an election, and the Defendants are

entitled to present certain relevant statements and character traits both that show reasonableness of belief

and to rebut evidence of good character.

   1. Evidence is not unfairly prejudicial merely because it is damaging. Caraway, at 1301; see also
      United States v. Cerno, 529 F.3d at 935 (holding trial courts must give evidence “its maximum
      reasonable probative force and its minimum reasonable prejudicial value”).

   2. When evidence is critical to core issues and its probative value substantial to assess those issues,
      it should rarely be excluded under Rule 403. See United States v. Begay, 497 F. Supp. 3d 1025,
      1066 (D.N.M. 2020) (holding that prior uncharged acts were admissible because their probative
      value was substantial).

   3. Limiting instructions can effectively address potential prejudice. See United States v. Jones, 530
      F.3d 1292, 1302 (10th Cir. 2008) (recognizing effectiveness of limiting instructions in managing
      prejudice).

       Recent cases from the District of Colorado demonstrate proper Rule 403 balancing in similar

contexts. See e.g. Sanchez v. Duffy, 416 F.Supp.3d at 1145 (admitting potentially prejudicial evidence with

limiting instructions because of its clearly probative value); Peterson v. Nelnet Diversified Sols., LLC, 400


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F.Supp.3d at 1133 (finding probative value of reputation evidence outweighed potential prejudice); Estate

of Martinelli, 2021 WL 4133804 at *8 (allowing evidence critical to damages claims despite prejudicial

potential).

           VI. Alternatively, the Defendants are Entitled to Individual Analysis or Limiting
              Instructions Considering the Intersection of Evidentiary Principles and Cumulative
              Analysis.

           The various categories of evidence MrDr. Coomer seeks to exclude must be analyzed not only

individually but also in terms of their interrelated nature and cumulative significance to the defense. Courts

recognize that evidence often serves multiple purposes and implicates multiple evidentiary rules. See

United States v. Reaves, 649 F.3d 862, 867-68 (8th Cir. 2011) (analyzing evidence under multiple rules           Formatted: Font: Italic

where it served overlapping purposes). Indeed, MrDr. Coomer’s vast request to exclude broad swaths of

evidence ignores fundamental principles permitting individualized admissibility including, but not limited

to, authentication issues, limiting and jury instructions, timeliness, rule of completeness, and curative

measures. For social media and electronic evidence, authentication requirements can be satisfied, by

example, through direct testimony from witnesses or circumstantial evidence. Fed. Rs. Evid. 901(b)(1) &

(4).

       A. Authentication and Chain of Evidence

           For social media and electronic evidence, authentication requirements can be satisfied through

multiple methods:

          Direct testimony from witnesses with knowledge (Rule 901(b)(1));

          Distinctive characteristics and circumstantial evidence (Rule 901(b)(4));

          System metadata and digital signatures;

          Business records certifications (Rule 902(11)).




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See United States v. Hassan, 742 F.3d 104, 133 (10th Cir. 2014) (discussing various authentication

methods for social media); Lorraine v. Markel American Ins. Co., 241 F.R.D. 534, 541-42 (D. Md. 2007)

(providing comprehensive framework for authenticating electronic evidence).

   B. Limiting Instructions and Jury Management

WhenNext, when evidence serves multiple purposes - some permissible and some potentially problematic

- courts regularly employ limiting instructions rather than excluding the evidence entirely. See United

States v. Jones, 530 F.3d 1292, 1302 (10th Cir. 2008). SuggestedCsuha (D. Utah 2021). Defendants

suggested limiting instructions could address:

      Using religious considering social media posts not for their truth or determining prior statements

       only for reputation/damages analysisassessments, not credibility;

      Considering social media posts only for their public impact, not truth of contents;

      Evaluating background documents for notice and state of mind, not truth.

The District of Colorado has approved similar limiting instructions in comparable cases. See Peterson v.

Nelnet Diversified Sols., LLC, 400 F.Supp.3d 1122, 1135 (D. Colo. 2019) (discussing effective limiting

instructions for multiple-purpose evidence).

   C. Temporal Considerations

The. Further, the timing of evidence must be considered under multiple frameworks:

      Pre including pre-existing reputation evidence (relevantor statements contemporaneous to baseline

       damages);

      Contemporaneous evidence during alleged defamation (relevant to damages and actual malice);

      Subsequent) or subsequent evidence showing impact (relevant to causation).




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       see See World Wide Ass'n of Specialty Programs v. Pure, Inc., 450 F.3d 1132, 1144 (10th Cir. 2006)       Formatted: Indent: First line: 0.5", Space Before: 12 pt

(considering timing in assessing evidentiary relevance); Brown v. Petrolite Corp., 965 F.2d 38, 46 (5th

Cir. 1992) (analyzing evidence's relevance based on temporal relationship to defamation).).

   D. This also goes to the Constitutional considerations in defamation law where the Court must

       consider First Amendment protections for speech on matters of public concern and a defendant’s

       right to present evidence that they acted reasonably and without actual malice. See New York Times       Formatted: Font: Italic

       Co. v. Sullivan, 376 U.S. 254 (1964Completeness Doctrine

       The); St. Amant, at 732 (1968) (noting that the finder of fact must be able to determine if statements

at issue were made in “good faith”).

       Additionally, the rule of completeness (Rule 106) may require admission of otherwise excludable

evidence to provide necessary context. See United States v. Lopez-Medina, 596 F.3d 716, 735 (10th Cir.

2010) (discussing completeness doctrine). This particularly applies to full social media conversations and

threads, complete background documents rather than excerpts, and entire video recordings of incidents

that provide insight into MrDr. Coomer’s credibility, mental state, honesty, and reputation prior to the

Defendants’ alleged statements at issue here.

   E. Finally, to the extent this Court grants any part of the plaintiff’s motion, the defendants may be

       entitled to introduce any evidence to rebut such showings under Rule 403 if the evidence

       introduced by plaintiff at trial creates a false impression or becomes more probative at trial because

       of the plaintiff’s introduction. See e.g. Young v. Corr. Healthcare Companies, Inc., 721 F. Supp. 3d

       1209, 1227 (N.D. Okla. 2024), appeal dismissed, No. 24-5033, 2025 WL 752336 (10th Cir. Mar.

       Curative Admissibility

       If Mr. Coomer opens the door to certain topics through his own testimony or evidence, additional

evidence may become admissible under the doctrine of curative admissibility. See United States v.



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Morales, 108 F.3d 1213, 1222 (10th Cir. 1997) (discussing curative admissibility doctrine). The doctrine

of curative admissibility allows for the admission of evidence which the Court finds otherwise

inadmissible, only to the extent necessary to remove any unfair prejudice to the Defendants here. See

United States v. Rucker, 188 Fed. Appx. 772, 778 (10th Cir. 2006), citing United States v. Morales-

Quinones, 812 F.2d 604, 609-10 (10th Cir. 1987). Curative admissibility applies only when other evidence

has been improperly admitted and allows the prejudiced party to rebut such admission. To the extent this

Court grants any part of Coomer’s motion, the Court should note that the Defendants have the right to

introduce otherwise inadmissible evidence if Coomer improperly introduces prejudicial or otherwise

inadmissible evidence to support his claims.

   F. Constitutional Considerations

         The constitutional dimensions of defamation law affect evidentiary analysis10, 2025). Defendants

respectfully request that any decision by the Court include an exception that such evidence may become

relevant or otherwise admissible at trial under the curative admissibility doctrine or the court’s discretion..

See New York Times Co. v. Sullivan, 376 U.S. 254 (1964). Courts must consider:                                    Formatted: Font: Italic


        First Amendment protections for expression;

        Due process right to present defense evidence;

        Public figure status implications.

Indeed, the Tenth Circuit requires “breathing space” for defamation defendants to present their defense.

See Jefferson County School District v. Moody's Investor's Services, 175 F.3d 848, 857-58 (10th Cir.

1999).

   G. Practical Trial Management




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        Courts should consider practical trial management issues when ruling on complex evidentiary

matters. This includes efficiency of evidentiary presentation, jury comprehension of factual issues, and

avoiding the risk of mini trials on collateral issues.

                                               CONCLUSION

        For the foregoing reasons, Defendants respectfully request that the Court deny Plaintiff's Motion

in Limine in its entirety. In the alternative, Defendants request the opportunity to address specific items

individually rather than excluding broad categories of relevant evidence.

        Dated: April 23, 2025.

                                                Respectfully Submitted,

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                                   CERTIFICATE OF SERVICE

        I hereby certify that on this 25thCITE day of FebruaryCITE 2025, I electronically filed the
foregoing with the Clerk of the Court using the CM/ECF system which will send notification of such filing
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        Appendix showing Notes of changes from final rough draft to final version that was

 worked on April 24 and completed on April 25 and finalized at approximately 4:10 PM CST:

        - Throughout brief, changed references from “Mr. Coomer” to “Dr. Coomer.” Although

 defendants object to this or request information to the extent used to show character, not proper to

 cite to “Mr.” where opposing party education/title is “Doctor.” (Was previously unaware)

        - Signature section – updated to show my signature as filing Attorney Kachouroff would

 not be able to finalize being out of country.

        - Brief at p. 2 – previously deleted “begay” case as improper.

        - Br. at p. 3 & 4 – Deleted cases (Mata) and replaced cerno with Id to reflect the cited and

 relevant Fed. Evid. And advisory note. No reason for case citation. Added FRE 405(b) per prior

 reference. Deleted other cases as unnecessary without time for review and did not support prior

 sentences.

        - Br. p. 5 – shortened Part III re: drug/alcohol use and mental health history substantially –

 added/replaced Csusha (D. Utah) re: emotional distress damages and prior alcohol abuse from

 other issues prior to incidents there (replacement of “Jones” case). Deleted other paragraphs as

 irrelevant. ** the same change was done on Brief page 10 re: replacement of Csusha for Jones.

 Both references to “Jones” case replaced by Csusha that supported the argument.

        - p. 6 – prior reference to “Perkins” deleted.

        - p. 6 cases Mata v. City of Farmington, Sanchez v. Duffy, 416 F.Supp.3d 1131, (D. Colo.

 2018) and Boeser were deleted – Boeser citation was incorrect and could not verify, other cases

 were unnecessary for substitution of rule or prior cited cases.

        p. 7 – case Cerca v. Thomas was deleted as unnecessary and unable to verify with timing

 along with reference to tenth circuit as unnecessary for prior argument with Rule.
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        p. 9 - Roberts v. McAfee, Inc., 660 F.3d 1156, 1167-68 (9th Cir. 2011) – I previously deleted

 words “social media” in parenthesis as it referred to relevance of public posts, but believe

 references to this were also deleted to make argument concise and because of prior references to

 rules and other citations (e.g. NY Times, etc.). Further page 9 – Lohrenz case deleted as outside

 district and unable to carefully review. Case: U.S. v. Hassan (4th Circuit), I typed the citation in

 and inadvertently typed “10th Cir” in the parenthesis.

        p. 10 – cases deleted. Sanchez v. Duffy, 416 F.Supp.3d 1131, 1142 (D. Colo. 2018); *could

 not locate* Estate of Martinelli v. City & Cty. of Denver, No. 19-cv-02737, 2021 WL 4133804, at

 *6-7 (D. Colo. Sept. 10, 2021) (admitting social media evidence as relevant to damages claims).

 For Peterson v. Nelnet Diversified Sols., LLC, 400 F.Supp.3d 1122, 1131 (D. Colo. 2019), the

 parenthetical here meant to address evidence to show damages where I inadvertently typed

 emotional ‘case” rather than damages. (see e.g. BRIEF p. 6, 2nd full paragraph, second to last

 sentence how I worded “relevant to emotional distress damages claims” – discussing proving

 claims for damages for distress, not legal claims/causes of action as it appears inadvertently in

 parenthetical.)

        -   Brief at p. 7 – removed US v Morales as unnecessary with SCOTUS citation to opening

            the door. And added, again, previously cited Rule 405(b) (essential element) as stronger

            citation for argument.

        -   Br. p. 7 – replaced case (cerno) with FRE not offered for truth as stronger argument.

            And St Amant v Thompson (fact finder entitled to evidence showing defendants good

            faith – believe in statements). Further, for Br. p. 7 – I’d shortened subpart “A”

            admissibility of social media evidence to discuss Rule 405(b) and limited to 2 cases –

            constitutional defenses going to actual malice/reasonableness and reckless disregard.
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           Removed authenticity as not at issue. Included St. Amant again – previously cited for

           proposition that fact finder should have evidence that helps them determine good

           faith/reasonableness of defendant where involves matter of public concern. Deleted

           “courts within district of Colorado” as I had insufficient time to assess specific D.

           Colorado cases, and the principle is established through SCOTUS precedent-principle

           to assess defendant’s information available to him for actual malice.

       -   Previously deleted and replaced United States v. Hoffman, 806 F.3d 1288, 1295 (10th

           Cir. 2015) with Fed R. Evid cited in brief for stronger reference.

       -   Shortened subsection on Rule 610 (religious evidence) as less important and the Rule

           itself provides for the exception (see advisory notes). Deleted cases referenced without

           time to review. (previously cited - Gulino v. Board of Education, 236 F.Supp.2d 314,

           322 (S.D.N.Y. 2002), 9th circuit case (Bains LLC v. Arco) permitted religious beliefs

           evidence for a discrimination case. Review found 2nd circuit case previously cited in

           subsection involved cross examination into religious beliefs inadmissible and regarded

           swearing oath on Koran (which is irrelevant here).

       -   br. at p. 7 – previously shortened section and substituted WL case Wheeler v. John

           Deere (1988) for denial of wholesale exclusion.

       -   P. 11 – previously deleted and replaced case “Cesareo-ayala” with FRE 803(3) for state

           of mind exception. Replaced “petrolite” with Id. to cite NY Times and St Amant

           previously addressed for same proposition. Replaced “United States v. Caraway, 534

           F.3d 1290 (10th Cir. 2008)” on p. 11 with “Id” as the argument referenced the prior cite

           “World Wide Association..” case (from last subsection) and other times in brief. Recall

           being uncertain why this case was there or included. Opted to add, again, FRE 405(b)
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           to support same proposition of essential element of a claim. (Replaced prior case

           “Begay” on same page with FRE 403 and 405(b)).

       -   (PRIOR p. 12 of brief) – deleted section listing cases (sanchez, Peterson, estate). Could

           not locate “Estate” case. Paragaph was unnecessary to support argument with prior

           citations and Federal Evidence rule. Sanchez worked for the proposition that some

           facebook posts were permitted to rebut the parties’ element/argument as to mental state

           with and for a limited purpose. Supports limited purpose admission.

       -   United States v. Reaves (8th Circuit) –ITALICIZED CASE NAME.

       -   Br. p. 11 – PREVIOUSLY DELETED SUBPARTS “A” – “G” as unnecessary and too

           long for concise final argument.

              o AUTHENTICATION AND CHAIN OF EVIDENCE” AS NOT NECESSARY.

                  Incorporated portions of relevant arguments into section to shorten Brief.

                  Removed “list” and replaced with “Defendants suggested limited instructions

                  could address…”

              o Re: “temporal consideration,” PREVIOUSLY deleted 5th circuit case where

                  World Wide case (10th circuit, previously cited and able to review) was

                  sufficient.

              o Previously deleted subpart G – practical trial management as irrelevant to

                  opposition brief.

              o Moved “constitutional considerations” (incorporated into section) under

                  limiting purpose to show character (405(b)) as relating to that paragraph.

                  **previously deleted final sentence as argument was completed and 2nd case

                  after Times (previously cited) – St Amant – showing importance of admitting
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               evidence for the fact finder to assess the defendant’s good faith.

            o Made final paragraph curative admissibility argument – but shortened it

               substantially as not specifically relevant to the opposition brief. Prior brief at

               p. 12 (final brief at Br. p. 11) replaced curative admissibility case with Young v

               Corr. Healthcare Co (ND Oklahoma) for clearer rule upon brief review.
